                    Case 2:10-cr-00191-JAM Document 74 Filed 08/05/11 Page 1 of 3

          Law Offices of Patrick K. Hanly
      1   Patrick K. Hanly (SBN 128521)
          980 9th Street, 16th Floor
      2   Sacramento, California 95814
          Telephone: (916) 773-2211
      3   Facsimile: (916) 449-9543
      4   Attorneys for Defendant
          Darrin Johnston
      5

      6

      7

      8
                                 IN THE UNITED STATES DISTRICT COURT FOR THE
      9
                                         EASTERN DISTRICT OF CALIFORNIA
     10

     11
          UNITED STATES OF AMERICA,                            )   Case No: 10cr191 JAM
     12                                                        )
                         Plaintiff,                            )   STIPULATION AND ORDER
     13                                                        )   CONTINUING STATUS CONFERENCE
                 vs.                                           )   AND EXCLUDING TIME UNDER THE
     14                                                        )   SPEEDY TRIAL ACT
          Todd Allen Smith, et. al.                            )
     15                                                        )   Date: 8-9-11
                         Defendants.                           )   Time: 9:30 a.m.
     16                                                        )   Courtroom: Honorable John A. Mendez
                                                               )
     17                                                        )
                                                               )
     18

     19

     20          Defendants Darrin Johnston, Todd Smith and Cheryl Peterson by and through their undersigned

     21   defense counsel and plaintiff United States of America, through its counsel, Assistant United States

     22   Attorney Todd Pickles, agree and stipulate that the current status conference set for August 9, 2011, in

     23   the above case, shall be re-scheduled for September 6, 2011 at 9:30 a.m.

     24          The parties further agree and stipulate that under 18 U.S.C. §3161(h)(7)(B) (iv), and Local Code

     25   T4, time from the date of this stipulation shall be excluded from computation of time within which the

     26   trial of this matter must be commenced under the Speedy Trial Act until and including September 6,

     27   2011, for counsel preparation time and to permit the parties to further investigate, review and complete

     28   the exchange of discovery, and prepare the case for further proceedings. The parties further stipulate



                                              Stipulation and Proposed Order Continuing Status Conference
PDF created with pdfFactory trial version www.pdffactory.com
                    Case 2:10-cr-00191-JAM Document 74 Filed 08/05/11 Page 2 of 3

      1   and agree that the interests of justice served by granting the continuance outweigh the best interests of

      2   the public and the defendant in a speedy trial.

      3          The Court is advised that all counsel have conferred about this request, that they have agreed on

      4   the September 6, 2011, date, and that all defense counsel have authorized Mr. Hanly to sign this

      5   stipulation on their behalf.

      6          IT IS SO STIPULATED.

      7
          Dated: August 4, 2011                                    /S/ PATRICK K. HANLY
      8                                                               Attorney for Defendant
                                                                      Darrin Johnston
      9

     10
          Dated: August 4, 2011                                    /S/ PATRICK K. HANLY
     11                                                               For Douglas Beevers
                                                                      Attorney for Defendant
     12                                                               Cheryl Peterson
     13

     14   Dated: August 4, 2011                                    /S/ PATRICK K. HANLY
                                                                      For Bruce Locke
     15                                                               Attorney for Defendant
                                                                      Todd Allen Smith
     16

     17

     18   Dated: August 4, 2011                                    /S/ TODD PICKLES
                                                                       Todd Pickles
     19                                                                Assistant United States Attorney
     20

     21                                                      ORDER

     22          The court adopts the stipulation as its Order and finds that the time from the date of this

     23   stipulation shall be excluded from computation of time within which the trial of this matter must be

     24   commenced under the Speedy Trial Act until and including September 6, 2011, for counsel preparation

     25   time and to permit the parties to further investigate, review and complete the exchange of discovery, and

     26   prepare the case for further proceedings. The Court further finds, based upon the stipulation of the

     27   parties, that the interests of justice served by granting the continuance outweigh the best interests of the

     28   public and the defendant in a speedy trial.

                                                                     -2-
                                         Stipulation and Proposed Order Continuing Status Conference
PDF created with pdfFactory trial version www.pdffactory.com
                  Case 2:10-cr-00191-JAM Document 74 Filed 08/05/11 Page 3 of 3

      1         IT IS SO ORDERED.

      2
                Dated: August 5, 2011                         /s/ John A. Mendez________________________
      3                                                       HONORABLE JOHN A. MENDEZ
      4                                                       UNITED STATES DISTRICT COURT JUDGE

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

     26

     27

     28

                                                             -3-
                                 Stipulation and Proposed Order Continuing Status Conference
PDF created with pdfFactory trial version www.pdffactory.com
